
*311OPINION.
Phillips:
The Commissioner disallowed the loss here claimed upon the ground that it was sustained in 1919 when the sanatorium project was abandoned by the taxpayer and when he asserts the damage to the foundation took place by reason of the rise in the water table. The disallowance on such ground does not appear to be justified by the evidence. The abandonment of the sanatorium project was temporary, caused by disturbances in Mexico which made it difficult to secure patients. It can not be determined when the damage to the foundation of the building took place. While the foundation was of adobe, it had a concrete facing. How long it resisted the seepage of the water is uncertain. The building was in use until 1923 and it was not until it was demolished in that year that any disposition of the property took place giving rise to a loss for the purposes of the income tax.
Decision will be entered on 15 days' notice, under Bule 50.
